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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

SENTINEL INSURANCE COMPANY, LTD.,
                                                   Civil Action No. 19-cv-20142-RMB-AMD
     Plaintiff,
                                                   Motion Return Date: September 8, 2020
             -vs-

CONRAD J. BENEDETTO, individually and doing
business as THE LAW OFFICES OF CONRAD J.                  [Document Electronically Filed]
BENEDETTO, and JOHN GROFF,

     Defendants.                                             NOTICE OF MOTION
CONRAD J. BENEDETTO, THE LAW                              FOR SUMMARY JUDGMENT
OFFICES OF CONRAD J. BENEDETTO, and
JOHN GROFF,

     Plaintiffs,

             -vs-

SENTINEL INSURANCE COMPANY, LTD.,
JOHN DOES and ABC ENTITIES A-Z,

     Defendants.

Motion By:              Plaintiff Sentinel Insurance Company, Ltd. (“Sentinel”)

Motion Returnable:      September 8, 2020, Mitchell H. Cohen Building & U.S.
                        Courthouse, 4th & Cooper Streets, Camden, NJ 08101

Supporting Papers:      Sentinel’s Statement of Material Facts Pursuant to Local Rule
                        56.1(a) in Support of its Motion for Summary Judgment

                        Declaration of Patrick D. Bonner Jr. with supporting Exhibits A
                        through G

                        Declaration of Laianna C. Hartley with supporting Exhibits A
                        through G
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                              Memorandum of Law in Support of Sentinel’s Motion for
                              Summary Judgment Pursuant to Federal Rule of Procedure 56

                              Proposed Order

Relief Sought:                An Order granting summary judgment in favor of Sentinel,
                              declaring that Sentinel has no duty to defend or indemnify
                              Conrad J. Benedetto, The Law Offices of Conrad J. Benedetto, and
                              John Groff in connection with two underlying employment-related
                              discrimination lawsuits filed in the Superior Court of the State of
                              New Jersey, and granting summary judgment dismissing the
                              Complaint of Conrad J. Benedetto, The Law Offices of Conrad J.
                              Benedetto and John Groff against Sentinel in the consolidated
                              action with prejudice.

Oral Argument:                Oral Argument is respectfully requested


                 PLEASE TAKE FURTHER NOTICE that opposition papers, if any, shall be filed

with the Clerk and served upon counsel for Sentinel not less than fourteen (14) days prior to the

return date and that failure to file opposition papers may be deemed by the Court as consent to

the granting of the motion.

                 PLEASE TAKE FURTHER NOTICE that Sentinel intends to file and serve reply

papers.

Dated: White Plains, New York
       August 7, 2020

                                      MENZ BONNER KOMAR & KOENIGSBERG LLP


                                      By:    /s/ Patrick D. Bonner
                                             Patrick D. Bonner, Jr.
                                             (pbonner@mbkklaw.com)

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                                      Attorneys for Plaintiff Sentinel Insurance Company, Ltd.




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Counsel for John Groff




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